Case 1:21-cv-01954-NRN Document1 Filed 07/19/21 USDC Colorado Page 1 of 29

. INTHE UNITED STATES DISTRICT CouRT ‘02! JUL 19 Py 2: [4

FOR THE D 0 EFFRE
OR THE DISTRICT OF COLORAD JEFFREY P. COLWELL

 

 

 

 

. CLERK
Civil Action No. " BY___dep. crk
(To.be supplied by the court) .
Uichelle WMeMillan _ Plaintiff
Vv.
Accelerated Xhools of Denver. .
Qt S. Cook Sr. | So . . t

Dore, CO 80410

 

, Defendant(s).

(List each named defendant on a separate line. If you cannot fit the names of all defendants in
the space provided, please write “see attached” in the space above and attach an additional
sheet of paper with the full list of names. The names listed-in the above caption must be
identical to those contained in Section B. Do not include addresses here.)

ke
'

 

EMPLOYMENT DISCRIMINATION COMPLAINT

 

 

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the
last four digits of a social security number; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.

 

 

 
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 2 of 29 .

"A. PLAINTIFF INFORMATION

You ‘must notify the court of any changes to your address where case-related papers may be
served by filing a notice of change of address. Failure to keep a current address on file with the
court may result in dismissal of your case.

Hichalle UMllen 9920 Ww. ilo Pleco #207 Weshmangster £0 50934

(Name and complete mailing address)

303-902-b3i (0 mick eu OY le hotnal.amn

(Telephone number and e-mail address) ¥

B. DEFENDANT(S) INFORMATION

Please list the following information for each defendant listed in the caption of the complaint. If
more space is needed, use extra paper to provide the information requested. The additional
pages regarding defendants should be labeled “‘B. DEFENDANT(S) INFORMATION.”

Defendant 1: Accelerated Schods of Denver bo 8. Cat F Denver, Cb 20210

(Name and complete mailing address)

363-158-2003 *

(Telephone number and e-mail address if known)

Defendant 2:

 

(Name and complete mailing address)

 

(Telephone number and e-mail address if known)

C. JURISDICTION ‘
Identify the statutory authority that allows the court to consider your claim(s): (check all that
apply)

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq.
(employment discrimination on the basis of race, color, religion, sex, or national origin)

WZ Americans with Disabilities Act, as amended, 42 U.S.C. §§ 12101, et seq. (employment
discrimination on the basis of a disability)
yn)
Age Discrimination in Employment Act, as amended, 29 U.S.C. §§ 621, et seq.
(employment discrimination on the basis of age)

 

__. Other: (please specify)
‘Case 1:21-cv-01954-NRN Document1 Filéd 07/19/21 USDC-Colorado Page 3 of 29

¢

.
é

D. STATEMENT OF CLAIM(S)

State clearly and concisely every claim that you are asserting in this action and the specific facts
that support each claim. If additional space is needed to describe any claim or to assert ,

_ additional claims, use extra paper to continue that claim or to assert the additional ‘cldim(s)
Please indicate that additional paper is attached and label the additional pages regarding the
statement of claims as “D. STATEMENT OF CLAIMS.”

~ CLAIM ONE: _See attached
The conduct complained of in this claim involves the following: (check all that apply)
____ failure to hire ___ different terms and conditions of employment
____ failure to promote 1 a to accommodate disability
termination of employment wt also

'

____ other: (please specify)

 

Defendant’s conduct was discriminatory because it was based on the following: (check all that
apply)

* race religion ° national origin age
color Sex Y~_ disability
Supporting facts:

See altached
Case 1:21-cv-01954-NRN” Document 1° Filed 07/19/21 USDC Colorado Page 4 of 29

CLAIM Two: __ See attached

The conduct complained of in this claim involves the following: (check all that apply)
____ failure to hire — ___ different terms and conditions of employment
____ failure to promote __ failure to accommodate disability
Zw termination of employment x retaliation

___ other: (please specify)

 

Defendant’s conduct was discriminatory-because it was based on the following: (check all that
apply)

race religion national origin

___ age
___ color ____ sex Y disability
Supporting facts:

See cclta ched

 

 

| Click Here for Additional Claim

4
Case 1:21-cv-01954-NRN Document’l Filed 07/19/21 USDC Colorado Page 5 of 29

E. ADMINISTRATIVE PROCEDURES

Did you file a charge of discrimination against defendant(s) with the Equal Employment
Opportunity Commission or any other federal or state agency? (check one)

Woes (You must attach a copy of the administrative charge to this complaint)
LIne p SOL EyMcbet F

Have you received a notice of right to sue? (check one)

[Wes (You must attach a copy of the notice of right to sue to this complaint)

L]No $ Bibi G

F. REQUEST FOR RELIEF

State the relief you are requesting or what you want the court to do. If additional space is needed

to identify the relief you are requesting, use.extra paper to request relief. Please indicate that

* additional paper is attached and label the additional pages re garding relief as “F. REQUEST

FOR RELIEF.” ee
Sue altached

G. PLAINTIFF’S SIGNATURE

I declare under penalty of perjury that I am the plaintiff in this action, that I have'read this
complaint, and that the information in this complaint i is true and correct. See 28 U.S.C. § 1746;
18 U.S.C. § 1621.

Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

(Plaintiit"s S signature)

 

Jig) Aoal

(Date) *

(Revised December 2017)
Case 1:21-cv-01954-NRN Document 1 Filed:07/19/21 USDC Colorado Page 6 of 29

Introduction and Facts for Accelerated Schools Disability Discrimination

1. This is an action for relief from violations by Accelerated Schools of Denver, of the
right of Plaintiff, Michelle “Mickey” McMillan, to be free from unlawful employment
discrimination and wrongful termination on the basis of her disability.

2. Defendants, as Plaintiff's former employers, subjected Plaintiff to the egregious and
unlawful employment practice by trying to force her, as a condition of her employment,
to participate in and follow the CDC guidelines for wearing a mask even though she told
them about her condition and how it prevented her from wearing one.

3. Defendants’ discriminatory behavior on a regular basis, by constantly telling me to
“just wear a mask” caused Plaintiff significant distress, anxiety, and embarrassment.

4. Plaintiff witnessed Accelerated Schools employees of all ranks, including the
Executive Director, Principal and Student Dean, not wearing masks when they thought
nobody was watching. The harassment continued even after Plaintiff expressed her
opposition to it and “caught” them not following their own protocol.

5. The consequent hostile work environment, discriminatory, wrongful termination, and
retaliation at the hands of Defendants caused Plaintiff to feel defensive and insecure
about her disability.

NATURE OF THIS ACTION

6. This is an action brought pursuant to The Americans with Disabilities Act, 42 U.S.C. §
12101, et seq.

7. Plaintiff seeks injunctive and declaratory relief, compensatory damages, punitive
damages, liquidated damages, unpaid wages and penalties, and her reasonable
litigation expenses as remedies for Defendants’ violations of her Federal and Colorado
Statutory as well as common law rights.

8. Through this Complaint, Plaintiff intervenes as of right in the action commenced by
the EEOC on April 23rd, 2021 in which she won the right to sue.
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 7 of 29

PARTIES

9. Plaintiff Michelle “Mickey” McMillan is an adult resident of the United States. At all
times relevant to this Complaint, Plaintiff had a neurological condition and was under
the care of a Neurologist, a disability recognized under the Rehabilitation Act and
Americans with Disabilities Act.

10. Defendant Accelerated Schools of Denver is a small private school, housed in the
1st and 2nd floor of the Iliff Mansion/Fitzroy Place, located in the University Park
neighborhood. Accelerated Schools of Denver is an employer covered under and
subject to following the guidelines under the Americans with Disabilities Act.

11. At all times relevant herein, Defendant, Accelerated Schools of Denver, had at least
fifteen employees. It is therefore an “employer” within the meaning of Title VIl.

12. Plaintiff is informed and believes, and thereon alleges, that at all times relevant
herein each of the Defendant Does 1-50 were responsible in some manner for the
occurrences and injuries alleged in this complaint.

Claims
D. STATEMENT OF FAG#S

13. At all times material to this action, Plaintiff was employed by Defendant, Accelerated
Schools, at its Denver, Colorado location.

14. Defendant, Accelerated Schools, hired Plaintiff as a Middle and High School Multi
Curricular teacher on or around August 1, 2019.

15. As a Middle and High School Multi Curricular teacher, Plaintiff worked in
Accelerated Schools’ second floor classroom, also known as the “Sun Room.” Plaintiff's
job responsibilities included, but not limited to:
e Taught Middle School Math and Social Studies
Taught High School English, Math, US History, and Civics
Coordinated a guest speaker for 9/11 curriculum
Created elaborate bulletin boards for each quarter
Taught virtual dance class for PE credit
Taught all classes online by summer

16. Plaintiff's duties also included light cleaning in exchange for free rent and utilities.
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 8 of 29

17. Plaintiff's Timeline of Events are included next as a way to organize the many
details:

Timeline of Events for Layoff

Accelerated Schools of Denver Admin Team:
Jane Queen(Executive Director who retired 5/31/2020)
Michelle Tuengel - Executive Director
Aundrea McCormick - Principal
Evan Simpson - Dean of Students
He was my next door teacher throughout the year that | lived and worked
there, he was promoted to Dean during the layoffs

8/1/2019(around then) - interviewed, offered, and accepted the job on the spot
Within the first week of working there, | disclosed my disability by telling my Su gyhibct A+B
survivor story to the staff during a teacher work day(because it was an
anniversary of surviving, probably around 8/9/2019)
Within 2 weeks, they offered to let me move in upstairs to accommodate my
custody situation(| was in between places and living in Longmont so they offered
some stability and a situation with less stress)
They amended my contract to include living for free(with cleaning duties) when |
moved in within 2-4 weeks of getting hired
9/2021 - They started making accommodations for me(to reduce the chance of
seizure triggers) including:

Extra bathroom breaks

Extra snack breaks(I was allowed to eat in the back with Andrea while

someone else used my classroom during my break)

My teaching schedule started later in the day to accommodate for taking

Lucy to school in Brighton

They allowed me to leave early on the days | had Lucy

They gave me a heads up when there would be a fire drill

They amended the cleaning part of my contract because it was too much

work so | created a weekly log that | had to turn in to McCormick
March or April of 2020 - When the pandemic started, they demanded that | wear
a mask, even though | told them that I’m medically exempt and cannot wear one
because it could cause me a seizure
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 9 of 29

4/2020 - | asked them(The admin team, Jane, Michelle, and McCormick)
for accommodations for not wearing a mask(work from upstairs or in my
classroom, away from everyone) and they said no,
just wear a mask
4/2020 - The Admin team was making accommodations for Georgina and
April to work from home, even paying for Gerogina’s internet(only to find
out she was a fraud) and when | asked why not me, they told me to mind
my own business and that not everyone had the same situation
5/2020 -I was the only one without one in the Graduation videos/pictures
and they(Jane and Michelle) were saying offensive things about me not
caring about others and such
5/2020 - | attended Mariana’s retirement event (outdoors) and Jane and
Michelle yelled at me to stay inside even though | stayed on the porch,
away from everyone(because it was MY RESIDENCE at the time) but
Jane and Michelle publicly scolded me for being around everyone without
a mask
7/1/2020 - they called me into a meeting to tell me that | was getting “laid off with
rehire” due to a drop in enrollment, and that | had to move out in 30 days
| yelled at them about it not being fair because of the high stakes custody
situation and my disability(which they knew about and helped me with the
whole time | worked there)
Lots of yelling and crying and | stormed out and went back upstairs to
continue working from the 3rd floor
7/2/2020 - they came to me and made me sign the NDA because | had started
telling the students and parents that it was my last month working there
They said | had to sign it in order to get my last paycheck and be in good
standing with thems Ex\¢b+ C
7/2020 - At some point during July(between 7/2/20-7/31/20), when | was doing
the cleaning, | noticed new resumes on McCormick’s desk so | asked why they
were hiring after laying me(and another teacher) off, and McCormick said they
“are always accepting resumes’ and brushed it off, so | reapplied online, using
my school email
7/2020 (sometime between when The Admin team told me about the layoff and
end end of the month) they sent me for a drug test because they said they
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 10 of 29

“smelled marijuana” and | told them that | stayed the night at my friend’s house
the night before so the smell might have lingered, but they sent me anyway, and |
passed it immediately and returned the results
within 1 hour(and they didn’t have anything to say then)
8/2020 - Soon after | moved out, Craig Havel(the Maintenance man at the
school) told me that they hired a new teacher to fill my position and a teacher
assistant, and | looked online and saw that it was true(from the teacher bios on
their website) Sez &hibrt D
| asked McCormick about it and she acted nonchalant and shrugged her
shoulders
| sent my resume to McCormick again, but did not get a response
4/28/2021 | noticed my exact job posted on Indeed Sey EXhibt E
| texted McCormick that | applied online and she responded by saying, “It
came through on my end.”
| emailed Michelle and McCormick that | noticed the open position and
that | was available for rehire and could move back in ASAP, and to let me
know the next steps
Michelle replied, “Thanks for letting me know.” but nothing came of it
Soon after, | received a generic response from Indeed.com stating
that they went with another candidate.
Random notes
Between 9/2020 and 4/2021, whenever | had to pick up my mail,
Nadean(the front desk lady whose last name | forgot) would harass me
and yell, “You can’t be in here without a mask” when | stepped in the
doorway to collect my mail
Ever since they received the charge of discrimination, Evan and Nadean
have been really nice and welcome me right in(without a mask of course)
| specifically asked Accelerated Schools NOT to forward my mail to the
temporary location where | was staying, and that | would pick it up in
person whenever | was in the Denver area
| went on 7/12/2021 and asked for my mail, but Michelle said they
did not have any of my mail and that they forwarded it, so | asked
her why and she told me to talk to their lawyer and leave
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 11 of 29

| also asked for the letter of reference that was promised to me on

7/2/2020, but she said to talk to their lawyer and told me to leave

and when | said that | would wait, she threatened to call the cops

and said | was trespassing(| have a video)

Gms
STATEMENT OF-FAGFTS(Eontinued)

18. Plaintiff expressed her opposition to the Policy to various Accelerated Schools
supervisors throughout her employment, including to her direct supervisors, Michelle
Tuengel, Aundrea McCormick, and Jane Queen, who was Accelerated Schools’ former
Executive Director as of 5/31/2021. Despite Plaintiff repeated expressions of
disapproval and opposition to Defendant's refusal to make accommodations, no action
was taken to remedy the matter or explain why | couldn’t have accommodations, such
as working in an isolated location on the 3rd floor(where | lived). To the contrary,

Plaintiff was advised by these individuals that it was a requirement by the CDC and
would not consider making accommodations.

19. Plaintiff also expressed her concerns to Andrea Tovar, the school’s nurse and HR
manager, who suggested that | keep asking for accommodations.

20. Plaintiff is informed and believes that on July 1st, 2020, she was informed that she
was going to be “laid off with rehire” as a direct result of asking for accommodations that
they did not want to make.

21. This wrongful termination humiliated and confused the Plaintiff.

22. Plaintiff is informed and believes that on July 2nd, 2020, Defendant, Accelerated
Schools, forced her to sign a document that prevented her from telling anyone about the
discrimination, in exchange for continued free rent and utilities, as well as a letter of

reference. Cy, SxhibhC

23. Plaintiff never received the letter of reference she was owed pursuant to the
“Request from Administration” document that was signed on 7/2/2020. She has since
requested it numerous times and keeps getting ignored. On 7/12/2021 she went in
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 12 of 29

person to ask for it, and Defendant, Accelerated Schools’ Michelle Tuengel refused to
talk to her and threatened to call the police if she did not leave.

EXHAUSTION OF ADMINISTRATIVE REMEDIES

 

ziasyy timely filed charges with the United States Equal Employment
Opportunity Commission, which were cross-filed with the Colorado Civil Rights Division
and won the right to sue from the EEOC on 4/23/2021. The Housing discrimination case
with the CCRD is ongoing.

25. Plaintiff has timely filed this action and has complied with all administrative
prerequisites to bring this lawsuit.

FIRST CLAIM FOR RELIEF
Violation of the Americans with Disabilities Act (against Defendant Accelerated Schools
of Denver)

26. The Americans with Disabilities Act, 42 U.S.C. § 12101, et seq., prohibits employers
from discriminating against qualified individuals because of a disability “in regard to job
application procedures, the hiring, advancement, or discharge of employees, employee
compensation, job training, and other terms, conditions, and privileges of employment.”
42 U.S.C. § 12112.

27. Because Neurological conditions such as brain cancer, brain tumors, and seizures
substantially limit at least one of Plaintiffs major life activities Plaintiff is an individual
with a disability under the ADA.

28. Plaintiff was fully qualified to be a Middle and High School Multi Curricular Teacher
and could perform all the essential functions of the position. Plaintiff also passed all of
Accelerated Schools’ training requirements(including, but not limited to drug screenings)
before Accelerated Schools terminated and disqualified him because he has a
neurological condition.

29. Accelerated Schools is a covered employer to which the ADA applies.
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 13 of 29

30. Accelerated Schools terminated and disqualified Plaintiff from employment solely
because Plaintiff has a neurological condition. Accelerated Schools made no
individualized assessment to determine whether Plaintiff could perform the essential
functions of the job and be employed by Accelerated Schools, or whether a reasonable
accommodation would enable him to be employed as a Middle and High School Multi
Curricular Teacher by Accelerated Schools, as is required under the ADA.

31. Accelerated Schools’ termination and disqualification of Plaintiff on the basis of her
disability and Accelerated Schools’ failure to make an individualized assessment to
determine whether Plaintiff could be employed or whether a reasonable accommodation
would enable her to be employed by Accelerated Schools violated the ADA.

32. As a result of Accelerated Schools’ actions, Michelle “Mickey” McMillan has suffered
and will continue to suffer both economic and non-economic harm.

33. The Americans With Disabilities Act (ADA) requires employers to provide so-called
“reasonable accommodation” to disabled employees who request it. Such
accommodation is intended to allow employees to do their jobs when it would otherwise
be difficult for them to remain in their positions.

In addition to mandating reasonable accommodation for disabled employees, the law
also prohibits employers from retaliating against employees who request
accommodation under the ADA. The Equal Employment Opportunity Commission
(EEOC) defines retaliation as an adverse action against a covered individual because
he or she engaged in a protected activity. In the case of ADA retaliation, a protected
activity would be seeking reasonable accommodation under the ADA.

34. Plaintiff engaged in protected activity by asking for accommodations and by making
numerous complaints to Defendants’ supervisors.

35. Plaintiff reasonably believed that this term and condition of her employment was
unlawful.

36. As a result of Plaintiff's requests for accommodations and complaints, Defendants,
their agents and/or employees took materially adverse actions against Plaintiff,
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 14 of 29

including, but not limited to yelling at her in front of her peers and constructively
discharging her from her employment.

37. Defendants’, their agents’ and/or employees’ retaliatory actions would deter a
reasonable employee from engaging in protected activity under the ADA.

38. As a direct, legal and proximate result of the discrimination, Plaintiff has sustained
economic and emotional injuries, resulting in damages in an amount to be proven at
trial.

39. Defendants’ unlawful actions were intentional, willful, malicious, and/or done with
reckless disregard to Plaintiff's right to be free from retaliation.

40. Plaintiff is entitled to her reasonable costs of suit.

Second Claim for Relief
Retaliation under the Americans with Disabilities Act (against Defendant Accelerated
Schools of Denver)

41. Plaintiff claims that she was not rehired in retaliation for filing administrative charges
of disability discrimination. Defendant contends that plaintiff was discharged because of
a drop in enrollment, but assured Plaintiff that she would be notified first when
enrollment went up and Defendant, Accelerated Schools, was hiring again.

42. Plaintiff reapplied via email in July 2020 when she saw that the Principal was
accepting new resumes and applications, but the Defendant, Accelerated Schools, did
not respond to her applications and ignored her requests to discuss reemployment.

43. Plaintiff was told by another employee that they hired two new people after she was
laid off. Sne looked on the Accelerated Schools website and saw that there were 2 new
employees, one of which did not have a teaching degree or Professional Teaching
license, as the Plaintiff does.
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 15 of 29

44. Plaintiff requested a “Termination Letter’ numerous times between July 2, 2020 and
now. Defendant, Accelerated Schools, has ignored every request, but assured Plaintiff
that they would “do their part” so she could receive Unemployment benefits
immediately.

45. Plaintiff applied for Unemployment benefits on 7/31/2020 and started receiving them
soon after, without any repercussions, and without having a termination letter.

46. Plaintiff reapplied to the position on 4/23/2021 when she saw the job posting on
Indeed.com. Plaintiff also emailed Michelle Tuengel and texted Aundrea McCormick,
but was not considered for the position.

47. Defendant, Accelerated Schools, ignored Plaintiff's request for rehire and sent a
generic message from Indeed.com, stating that they “went with another candidate with
better credentials.”

48. Plaintiff looked on the Accelerated Schools’ website and Facebook page and
noticed they had at least three other employees(Liam, Kyle, and Jena) employed as
“teachers” even though they do not have the equivalent credentials as Plaintiff.

49. Plaintiff's credentials consist of a Bachelor's Degree in Education, Professional
teaching license and 10 years of teaching experience.

50. Plaintiff is humiliated and confused as to why she was not offered her position and
why they employed people without equivalent teaching credentials.

51. Plaintiff claims that this is an example of retaliation under the ADA by not offering
her the position as previously promised, yet hiring new employees while Defendant

claimed she was laid off due to a drop in enrollment.

52. Plaintiff engaged in protected opposition to discrimination
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 16 of 29

53. Defendant, Accelerated Schools, subjected her to an adverse employment action
subsequent to the protected activity.

54. A causal connection exists between the protected activity and the adverse
employment action.

SUMMARY REQUEST FOR RELIEF

 

55. WHEREFORE, Plaintiff respectfully requests that this Court enter Judgment in favor
of Plaintiff and against Defendants and award the following relief:

a. Declaratory relief, including but not limited to a declaration that Defendant,
Accelerated Schools of Denver, discriminates against individuals with disabilities in
violation of the ADA;

b. Declaratory relief, including but not limited to a declaration that the Americans
with Disabilities Act bar Accelerated Schools of Denver from denying employment to
individuals who are disabled without an individualized assessment of whether they can
perform the essential functions of the job (with or without a reasonable
accommodation);

c. Appropriate injunctive relief, including but not limited to reinstatement of
Michelle “Mickey” McMillan’s position with Accelerated Schools of Denver and an order
restraining Michelle Tuengel and Accelerated Schools from engaging in further
discriminatory conduct of the types alleged in this Complaint;

d. Back pay in an amount to be determined at trial:

e. In the event reinstatement is not granted, front pay;

f. Compensatory and consequential damages, including for emotional distress
against Defendant, Accelerated Schools of Denver;

g. Punitive damages against Defendant, Accelerated Schools of Denver;

h. Pre-judgment and post-judgment interest at the highest lawful rate;

i. Request that Defendant, Accelerated Schools, change their policy regarding
reasonable accommodations for people with disabilities;

j. Fuel expenses and other fees and costs of this action;

k. A present and actual controversy exists between Plaintiff and Defendants
concerning their rights and respective duties. Plaintiff contends that Defendants violated
her rights under the ADA. Plaintiff is informed and believes and thereon alleges that the
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 17 of 29

Defendants deny these allegations. Declaratory relief is therefore necessary and
appropriate.

|. Plaintiff seeks a judicial declaration of the respective rights and duties of the
parties.

m. No plain, adequate, or complete remedy at law is available to Plaintiff to
redress the wrongs alleged herein.

n. If this Court does not grant the injunctive relief sought herein, Plaintiff will be
irreparably harmed.

0. For an order enjoining Defendants from engaging in the unlawful acts
complained of herein;

p. Any such further relief as the Court deems appropriate.
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 18 of 29

OBJECTIVE
PROFILE

EDUCATION

To obtain a teaching position at the upper elementary, middle, or high school level

Michelle McMillan

cx hibrt A
12005 E. 13" Ave Apt #207

Aurora, CO 80010 (dS Ume used to altar
(303) 902-6316 fe
rnigkey0di I @abotmai.com Th pos Hon at Atcel erotaf

YC hools,

A highly energetic and enthusiastic individual, specializing in Math and ELA, dedicated to providing the best education and care to
children of all ages

B.S. in Elementary Education (Math emphasis)

Grand Canyon University, Graduation date: May 1, 2010

Certification: Elementary Education (K-6)

High School Diploma, Ithaca High School, June 1998

TEACHING EXPERIENCE

High School Teacher

5" Grade Teacher

Substitute Teacher

ELA Teacher

Student Teaching

Practicums

11th-12th Grade Roca Fuerte Academy Learning Center February 2019 - present

e
5" Grade
e
e
e

Taught small group, subject specific, daily lessons
Managed a blended leaming environment
Worked individually with students in honors math classes
Global Village Academy July 2017-February 2019
Taught daily CCSS aligned lessons in math, reading, and writing
Planned multiple assemblies and field trips
Taught after school dance class

K-12" Grade Kelly Educational Staffing June 2016 — May 2017

2" Grade

1*.

OTHER WORK EXPERIENCE

Accepted a longterm position in 8" grade literacy classroom at South Middle School, Jan 2017
Managed and taught in various grade levels and schools, predominantly middle and high school classes

Landmark Academy July 2010-February 2016
Taught daily lessons in grammar, math, reading, and writing
Wrote and taught own curriculum for writing (9/11, Black History Month)
Implemented Blended Learning techniques
Started and managed Middle School Student Council
Planned and executed all Middle School evening functions (dances, etc.)
Managed concessions at sporting events
Attended professional development on analyzing NWEA dataat the Headquarters in Michigan
Traveled with Principal to sister schools to share data and knowledge
Organized and managed PBS committee

Highline Academy Spring 2010
Attended weekly professional development classes
Co-designed and implemented specific strategies for RTI
Created and implemented character education lesson plans
Used internal NWEA data to promote student achievement
Tutored students weekly
Incorporated cooperative learning, lan guage experience approach, hands-on leaming experiences, and interdisciplinary teaching
Designed, implemented, and assessed lesson plans and corresponding materials
Curriculum experience with Core Knowledge, Saxon Math, Sitton Spelling, Open Court Reading, Step-Up to Writing, andDRA
2

8" Grade Farrell B. Howell K-8 School August 2006 - June2009
108 contacthours
Observed classroom instruction and taught whole group, one-on-one and small group lessons

Paraprofessional ECE -8" Grade Farrell B. Howell K-8 School August 2006- June 2009

Assisted classroom teachers with student learning, making copies, and daily planning

Taught Saturday School fora selected group of students in preparation for CSAP

Participated as a part of the Positive Behavior Support (PBS) committee and operated the weekly school store

Taught lyrical, jazz, and Broadway danceto students during a weekly after school program

Coached a summer basketball team and reading program sponsored by the Denver Nuggets and the sixth grade
girl’s basketball team during the school’s inaugural year with sports

Created the school’s yearbook with the help of technology students

Mentored an at-risk student
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 19 of 29

 

 

 

uoryeonpy jo yuaurjredaq

6
whe

6

RC: Us

re,

 

xdse°dny00]9SU93!7/dNY001/sulsuasi|/apI/AOT OpesojO7 MMM//:SAHY :3e auljud snyeys ay} JsUIeTe jeIyUapa|s Siyy Ayisan SAeMIy :suaAOjdWy
STOZ ‘8Z Yue [uO paquld sem ayedyied-a SIU,

 

npg Jo weunzeded |

UGVGUT109 | LEEEEAV/
€7O0Z/TZ/SO :sasidxy
8L0Z2/T2/S0 -8AlDay3

TZZT9¢ aquiny
[EUOISSaJOld :adAL

(9-y) uoleonpy AsejUuaWwalz
:Sease SUIMO]|O} JY} U! BAIIS JO YI} O} BSUAIIT
AQYIeD]|

siy} pa}uels S|

UDIPINIW UAalind ajjayriiA

UOHeINp® JO pieog OpeJOjOD 9} JO sayny
pue ME] 9}e1S OpeJOjO) YUM psosse u|

OdVAOTOD AO ALVIS

 

 

 

 

‘WD TW

 

 
ah

Case 1321-cv-01954-NRN Document Filed 07/19/21 USDC Colorado Page 20 of 29

Evh chet C

 

 

 

 

To: Mickey McMillan
From: The Administrative Team
Subject: Request for the month of July

Date: July 1, 2020

Mickey:

For the remaining time you have with Accelerated Schools, now through July 31, 2020, we are
respectfully requesting the following items. By following these requests we will be able to offer
you the full payment for the month of July, honor your current living expenses (ie. free rent, and

- , Utilities), and be able to provide you with a letter of reference, if you need it for the next position

you are applying for.

We ask that you:

- Donot have any contact with Accelerated students or parents.

- Donot make any social media posts that reference Accelerated Schools or staff.

- Do not make any negative comments to the neighbors about the school or the staff at
the school.

-, Turn in.your school computer no later than Thursday, July 2, 2020; at 3:00 pm.

- Turnin the keys to the Dullding, to the Administration Team on or before July 31, 2020, at

* 3PM.

|
By signing below, | understand the above requests. '

MBO — Mickey McMillan Date W/2/ F000 VWF1 7020

ichelle Tuengel Date Taf BOM
alt | undioal7] (Corumic he Aundrea McCormick Date 1-2 2-7O2ZD

Cc: file
Case 1:21-cv-01954-NRN Document1 Filed 07/19/21 USDC Colorado Page 21 of 29
Exhibrt D

Accelerated Schools’ Staff Bios
https://www.acceleratedschools.org/about-us/faculty-staff

*“*Please notice that ALL of these “teachers” do NOT have teaching credentials***

Liam Murphy

High School Instructor and Community Outreach
Imurphy @acceleratedschools.org

Liam A. Murphy has a lifeline relationship with marketing & education. Growing up ina
Northern Suburb of Chicago, IL, he played for one of the best soccer clubs in the nation: The
Chicago Kickers Soccer Club. It was there he lined up alongside Ken Snow (2-time Herman
Award Winner) and Steve Snow (United States, U17, U20, U23 National Teams & the 96
Olympic Team). Liam enjoyed numerous successful seasons at High School, Club, and College
level.

During his tenure at school, he played on world-class teams in the United States, as well as in
Europe. While injury sidelined the possibility of a professional soccer career, it allowed Liam to
channel his talent in another direction. As an Executive for many large Chicago Advertising
firms, he implemented successful sports marketing programs centered around special events,
outreach, promotions, and cooperation advertising. Also, as a Director of Coaching and
Education for large soccer clubs in Chicago and Denver were he created many staff education,
training programs as well as age-specific curriculum for all genders, skill-level and age groups.

When Liam is not working, he enjoys family time with his wife Sue and his two kids, daughter,
Breckyn and son, Liam (LJ)

Kyle Pepper

Educational Recruiter and Enrollment Counselor
kpepper @ acceleratedschools.org

Kyle has a Bachelor’s degree in Sociology from the University of Colorado at Boulder. In 2016,
he completed a Master’s in Strategic Human Resource Management from the University of
Denver. He has worked as a small-group, intensive math tutor for 4th graders in Denver Public
Schools and as a job coach/instructional assistant in a school providing life and vocational skills
to students with autism and other developmental disabilities. Before joining Accelerated Schools,
Kyle worked as a technical IT recruiter.
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 22 of 29
Exhibit DB Continued

Jena McJunkins

Teaching Assistant
Jmcejunkins @acceleratedschools.org

Jena recently joined the Accelerated Schools team as a teaching assistant. She earned her BS in
Mathematics with a cognate area in Actuarial Science from the University of Nebraska at Omaha
and is currently working towards her teaching certification. She is dedicated to supporting the
teachers and students here at Accelerated and looks forward to working and learning alongside
them. When Jena is not assisting teachers and students, she enjoys seeing new places, yoga and
watching Netflix with her cat, Kemba.

Evyn Marsh
High School Instructor and Middle School Instructor

emarsh @acceleratedschools.org

Evyn earned her BS in Mathematics at Colorado State University in Fort Collins, and is a Denver
native. She has worked as a math tutor since high school, and gained teaching experience
through being a lead instructor and assistant center director at Mathnasium before arrivin gat
Accelerated Schools this year. She has worked with students from Ist through 12th grade, and
tutored some of her classmates in college. Although Evyn's favorite subject has always been
math, she went to high school at the Denver School of the Arts and hopes to also share that
knowledge with the students at Accelerated.
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 23 of 29

Accelerated Schools Indeed Job Posting

Exhcbrt = E eg |

Middle/High School Multi-Curricular

Teacher

Accelerated Schools of Denver
Denver, CO 80210
Employer actively reviewed job 13 days ago

Resume insights

You have matching qualifications, based on your Indeed resume and the job description

Experience & Skills

Teaching —

Education & Certificates

Bachelor's degree

Job details

Job Type

Full-time

Contract

Number of hires for this role
1

Qualifications

e Experience:

e teaching, 2 years (Required)
e Education:

e Bachelor's (Required)
e Location:

e Denver, CO 80210 (Required)
e Work authorization:

e United States (Required)
Exh: bit E conrkaued

Full Job Description

Middle/High School Multi-Curricular Job Description

Projected starting date: immediately, open until filled
Se

Location

Accelerated Schools

2160 South Cook St. Denver, CO 80210
303-758-2003

303-757-4336 (Fax)

Accelerated Schools is a small private non-denominational K-12 school located in southeast
Denver near Denver University. We are housed in the historic Fitzroy Mansion. Accelerated
Schools features extremely low student/teacher ratios that allow us to authentically implement
individual success plans for each of our students. We have open enrollment and are open year-
round. Our testing program is done internally and not a government top-down system.
Accelerated Schools is the former Randell-Moore School of Denver and has operated under our
current name since 1977. We are accredited by The North Central Association Commission of
Secondary Schools, which is the accreditation division of AdvancED.

Contact person: Aundrea McCormick: amccormick @acceleratedschools.org
Job Description

Applicants must have a high level of computer competency, flexible attitude, be adaptable to
learning and using the Accelerated Schools educational delivery system, be able to pass a drug
screen and background checks. An ability to work with a diverse student population and
flexibility to work with multiple levels of student ability in the same classroom setting is essential.
Must be comfortable teaching in multiple content areas and grade levels, as well as being able
to manage our in-school suspension program.

Qualifications

e Two years of classroom teaching experience or within the educational field (preferably
within Math or Science)
e CDE certification or ability to obtain such

All applicants are required to complete an application packet with a professional cover letter,
resume, and references.

Compensation

rg
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 25 of 29
Ban iort E Conbnusg p93

Accelerated Schools is a year-round school. Salary ranges from the mid $30s to low 40’s per
year depending on qualifications. Also partial health insurance reimbursement and partial 403(b)
match. A graduated vacation schedule based on years’ experience with the school is also
available in addition to the ten days for national holidays.

Knowledge, Skills, and Abilities

Must possess excellent written and verbal communication skills. Proficient in English usage,
spelling, grammar, and punctuation. Ability to read and interpret documents such as policy and
procedure manuals. Ability to prepare and proofread routine reports, business letters, and
correspondence. Ability to effectively present information in one-on-one and small group
situations to students, stakeholders, and other employees of the organization. Must have
excellent interpersonal skills and the ability to work well with all levels of internal management
and staff, outside clients and vendors.

Additional Certificates, licenses, and registrations Must possess a valid driver's license with
a good driving record.

OTHER SKILLS AND ABILITIES

Outstanding customer service and interpersonal communication skills are required. Must
possess excellent written communication skills; business writing skills, principles and

procedures of record keeping. Exceptional organizational skills and attention to detail are
required. Ability to differentiate instruction for multiple skill and age levels is essential. Ability to
apply strong computer and Internet research skills. Ability to multi-task and interact in a dynamic
environment using independent judgment and personal initiative.

Ability to pass the vetting process of Accelerated Schools including passing a pre-employment
drug test, being able to legally work in the United States, and pass criminal and financial
background checks.

PHYSICAL DEMANDS

The physical demands described here are representative of those that must be met by an
employee to successfully perform the essential functions of this job. While performing the duties
of this job, the employee is regularly required to sit at a desk and use hands and fingers to type;
must be able to reach with hands and arms; talk and hear. May frequently be required to stoop
or kneel; must occasionally lift and/or move up to 25 pounds. Specific vision abilities required by
this job include close vision and ability to adjust focus. Must be able to climb stairs.

WORK ENVIRONMENT

The work environment characteristics described here are representative of those an employee
encounters while performing the essential functions of this job. The work environment is
primarily is a fast-paced office setting with a moderate noise level and frequent interruptions.
Multi-Tasking ability is essential.
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 26 of 29
Exhibt E Conk nud 0g}

Non-discrimination Policy kk

Accelerated Schools does not discriminate on the basis of race, creed, color, national origin or
ancestry, gender, sexual orientation, religion, veteran status, age, pregnancy status, genetic
information or disability or any other category as prescribed in law.

Job Types: Full-time, Contract
Pay: $32,000.00 - $40,000.00 per year
Experience:

e teaching: 2 years (Required)
Education:

e Bachelor's (Required)
Location:

e Denver, CO 80210 (Required)
Work authorization:

e United States (Required)
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 27 of 29

Ban to bh F

EEOC Form 5 (11/09)

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Nagy / es) Cnarge
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [ ] FEPA
Statement and other information before completing this form.
[x ] EEOC 541-2021-01164
COLORADO CIVIL RIGHTS DIVISION and EEOC

 

State or local Agency, ifany

 

Name (indicate Mr., Ms., Mrs.) Home Phone Year of Birth
MS. MICHELLE MCMILLAN (303) 902-6316

 

 

Street Address City, State and ZIP Code

2728 S. RICHFIELD ST., AURORA,CO 80013

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That | Believe Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

Name No. Employees, Members Phone No.

RANDELL MOORE SCHOOL OF DENVER DBA
ACCELERATED SCHOOLS 15 - 100 (303) 902-6316

 

 

 

Street Address City, State and ZIP Code

2160 S COOK ST, DENVER, CO 80210

 

 

 

 

 

Name No. Employees, Members Phone No.

Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

[| RACE [| COLOR [| SEX [| RELIGION [ ] NATIONAL ORIGIN 04-01-2020 07-31-2020

[x] RETALIATION [] AGE [x] DISABILITY [_ ] GENETIC INFORMATION

[| OTHER (Specify) [| CONTINUING ACTION

 

 

 

 

THE PARTICULARS ARE (/f additional paper is needed, attach extra sheet(s)):

 

| want this charge filed with both the EEOC and the State or local Agency, | NOTARY - When necessary for State and Local Agency Requirements
if any. | will advise the agencies if | change my address or phone number
and | will cooperate fully with them in the processing of my charge in

 

accordance with their procedures. 1 swear or affirm that | have read the above charge and that it

 

 

| declare under penalty of perjury that the above is true and correct. is true to the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

Digitally signed by Michelle Mcmillan on 04-06-2021 SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
12:14 PM EDT (month, day, year)

 

 

 
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 28 of 29

Exncbd F continued

EEOC Form 5 (11/09)

 

CHARGE OF DISCRIMINATION Charge Presented To: {2rn¥lles) Charge
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [| FEPA
Statement and other information before completing this form.
[x] EEoc 541-2021-01164

 

 

COLORADO CIVIL RIGHTS DIVISION and EEOC

State or local Agency, if any

 

 

1 was hired by the above employer as a Cross Curricular Teacher on or about August 1, 2019.
My employer was aware of my disability and need for reasonable accommodations, including,
but not limited to, changes in my schedule. In approximately April 2020, | requested the
additional reasonable accommodation of not wearing a mask due to my disability. My
employer refused to accommodate me or allow me to attend meetings remotely, even though
other employees were provided with similar accommodations. On approximately July 1, 2020,
1 was informed that | would be laid off at the end of the month. | was the only person laid

who was forced to sign a non-disclosure agreement. Although the employer claimed that |
was laid off due to budget cuts, they continued to hire and promote employees. I was told
that | was eligible for rehire, but | received no response after | reapplied in approximately
September 2020.

| believe that I have been discriminated against based on a disability, within the meaning of
the Americans with Disabilities Act of 1990 (ADA), as amended, and retaliated against for
participating in protected activity, in violation of the ADA.

 

 

 

| want this charge filed with both the EEOC and the State or local Agency, | NOTARY - When necessary for State and Local Agency Requirements

if any. | will advise the agencies if | change my address or phone number
and | will cooperate fully with them in the processing of my charge in

 

accordance with their procedures. | swear or affirm that | have read the above charge and that it

 

 

| declare under penalty of perjury that the above is true and correct. is true to the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

Digitally signed by Michelle Mcmillan on 04-06-2021 SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
12:14 PM EDT (month, day, year)

 

 

 
Case 1:21-cv-01954-NRN Document 1 Filed 07/19/21 USDC Colorado Page 29 of 29

EXhibt 6,9

EEOC Form 164 (11/2020) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Michelle Mcmillan From: Denver Field Office
2728 S. Richfield St. 950 17th Street
Aurora, CO 80013 Suite 300

Denver, CO 80202

 

[| On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC ChargeNo. EEOC Representative TelephoneNo.
Philip Gross,
541-2021-01164 Supervisory Investigator (720) 779-3637

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did notinvolve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees oris not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
determination about whether further investigation would establish violations of the statute. This does not mean the claims
have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
makes no finding as to the merits of any other issues that mightbe construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fairemployment practices agency that investigated this charge.

Other (briefly state)

UU kBOUOOUU

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Titie Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This wiil be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
fost. (The time limit for filing suit based on aclaim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

for April 23, 2021

 

 

Enclosures(s)

 

(Date Issued)

Director

ce: ACCELERATED SCHOOLS
Casey Paison, Attorney
